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 9 Attorneys for Defendant Rami Najm Asad-Ghanem

10                        IN THE UNITED STATES DISTRICT COURT
11                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
12 UNITED STATES OF AMERICA,               )   Case No. 15CR00704-SJO
                                           )
13               Plaintiff,                )
                                           )
14 v.                                      )   SUPPLEMENTAL SENTENCING
                                           )   MEMORANDUM AND OBJECTIONS
15 RAMI NAJM ASAD-GHANEM,                  )
                                           )   Hearing: August 19, 2019
16               Defendant.                )   Hearing Time: 10:00 a.m.
                                           )
17                                         )
18               Defendant, Rami Najm Asad-Ghanem, by and through his counsel of record,
19 hereby files this Supplemental Sentencing Memorandum and Objections.

20                                             Respectfully submitted,
21                                             s/Benjamin L. Coleman, s/H. Dean Steward
22 Dated: August 5, 2019                       BENJAMIN L. COLEMAN
                                               H. DEAN STEWARD
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 1                                     INTRODUCTION
 2              Defendant, Rami Najm Asad-Ghanem, respectfully submits this
 3 Supplemental Sentencing Memorandum and Objections. First, for the reasons stated in

 4 Mr. Asad-Ghanem’s post-trial motions, the Court should not apply the statutory and

 5 guidelines sentencing provisions applicable to 18 U.S.C. § 2332g. Second, Mr. Asad-

 6 Ghanem raises further legal arguments in support of his objection to the 10-level increase

 7 under U.S.S.G. § 2K2.1(b)(1)(E). Third, if this Court applies a 10-level increase under §

 8 2K2.1(b)(1)(E), then it should apply a 3-level decrease under U.S.S.G. § 2X1.1.

 9                                      BACKGROUND
10              Mr. Asad-Ghanem has filed objections to the Presentence Report (“PSR”). In
11 response, the government has filed a sentencing memorandum (“GSM”) in which it

12 requests that the Court apply the following Sentencing Guidelines calculations to the §

13 2332g count under U.S.S.G. § 2K2.1:

14              Base offense level                 18
15              Offense involving missiles        +15
16              More than 200 missiles            +10
17              Total offense level               43
18 GSM 27-28. Under the government’s calculations, the total offense level of 43 results in a

19 guidelines range of life imprisonment.

20                                        ARGUMENT
21              A. The Court should not apply the § 2332g sentencing provisions
22              In his post-trial motions, Mr. Asad-Ghanem has contended that, for a variety
23 of reasons including the rule of specialty, the Court should not sentence him pursuant to

24 the statutory and guidelines provisions applicable to the § 2332g charge, which, according

25 to the government’s calculations, recommend a sentence of life imprisonment without the

26 possibility of parole. As discussed in the motions, the purported extension of extradition to

27 include the § 2332g charge was invalid, and the government secured the purported

28 extension without providing notice to Mr. Asad-Ghanem, thereby depriving him of his
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 1 right to contest the request. At the very least, Mr. Asad-Ghanem could have sought a

 2 limitation on the sentencing provisions of § 2332g under Trabelsi v. Belgium, No. 140/10

 3 (2015), where the European Court of Human Rights held that extradition to the United

 4 States for a federal offense carrying a maximum of life imprisonment violates Article 3 of

 5 the European Convention on Human Rights. Greece is a party to the Convention.

 6 Furthermore, the 25-year mandatory minimum penalty is akin to a life sentence given Mr.

 7 Asad-Ghanem’s age, health concerns, and the shortened life expectancy for inmates

 8 incarcerated for such a lengthy period of time. Accordingly, the Court should not apply

 9 the statutory and guidelines provisions associated with § 2332g.

10              B. U.S.S.G. § 2K2.1(b)(1)(E)
11              If the Court does apply the guidelines for § 2332g, then Mr. Asad-Ghanem
12 continues to object to the 10-level increase under U.S.S.G. § 2K2.1(b)(1)(E). The

13 government is seeking the increase for 200 or more missile systems based on foreign

14 conduct that, at most, constituted mere solicitations that never materialized into any type

15 of agreement or substantial step in effectuating a transaction for a missile system. GSM

16 29-30. Congress, however, has determined that extraterritorial jurisdiction only applies to

17 attempts and conspiracies, not mere solicitations. See 18 U.S.C. § 2332g(c). Accordingly,

18 Mr. Asad-Ghanem’s offense level cannot be increased for this foreign conduct. See

19 United States v. Chao Fan Xu, 706 F.3d 965, 993 (9th Cir. 2013), abrogated on other

20 grounds by RJR Nabisco, Inc. v. European Community, 136 S. Ct. 2090 (2016); United

21 States v. Azeem, 946 F.2d 13, 17-18 (2d Cir. 1991).

22              In addition to the foreign conduct prohibition, the guideline itself does not
23 contemplate an increase for mere solicitations. Application note 5 to § 2K2.1 uses the

24 language, “attempted to obtain,” demonstrating that a mere solicitation does not suffice.

25 There is no evidence that Mr. Ghanem or any of his coconspirators actually possessed or

26 distributed 200 or more surface-to-air missiles, lawfully or not, or engaged in substantial

27 steps thereby constituting an attempt to do so. See United States v. Hagman, 740 F.3d

28 1044, 1048-51 (5th Cir. 2014). The evidence the government proffers proves, at most,


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 1 solicitations for the sale of surface-to-air missiles. But soliciting the sale of a missile

 2 possessed by a third party is not the same as attempting to obtain one. Because the

 3 evidence does not establish, much less by clear and convincing evidence, that the offense

 4 involved 200 or more surface-to-air missiles, this Court should not apply the enhancement.

 5 See, e.g., United States v. Staten, 466 F.3d 708, 717 (9th Cir. 2006); United States v.

 6 Jordan, 256 F.3d 922, 929 (9th Cir. 2001).

 7                Furthermore, it violates the Fifth and Sixth Amendments to use judge-found
 8 facts to support dramatic increases under the Sentencing Guidelines and to determine the

 9 reasonableness of a sentence under 18 U.S.C. § 3553(a). The 10-level enhancement

10 constitutes a dramatic increase under the Sentencing Guidelines—increasing Mr. Asad-

11 Ghanem’s guideline range from 135-168 months to life imprisonment. The jury never

12 made any findings supporting this dramatic increase, and therefore the increase violates

13 the Fifth and Sixth Amendments under Apprendi v. New Jersey, 530 U.S. 466 (2000) and

14 its progeny.

15                Despite the government’s frequent reliance on United States v. Watts, 519
16 U.S. 148 (1997) to refute Apprendi challenges to applications of the Sentencing

17 Guidelines, that opinion did not address whether applying dramatic increases under the

18 guidelines based on judge-found facts violates Apprendi. Watts was decided before

19 Apprendi and focused on the Double Jeopardy Clause, not the Sixth Amendment. Even

20 putting this important distinction aside, see United States v. Booker, 543 U.S. 220, 240 n.4

21 (2005), Watts did not address dramatic increases under the guidelines. In Watts, the Court

22 considered two companion cases and concluded that a sentencing court could consider

23 acquitted conduct in determining a guidelines increase. One defendant’s guidelines

24 calculations were enhanced by two levels, see Watts, 519 U.S. at 150, while the other

25 defendant’s range was increased from 15-21 months to 27-33 months. Id. at 163 (Stevens,

26 J., dissenting). Thus, the question of dramatic guidelines increases was not presented in

27 Watts, and the Court specifically stated that it was not presented with “dramatic[]”

28 increases under the guidelines and was not considering that issue. Id. at 156-57. While


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 1 the Supreme Court subsequently held that the Sentencing Guidelines were advisory in

 2 Booker in response to opinions like Apprendi and Blakely v. Washington, 542 U.S. 296,

 3 303 (2004), Booker also did not address dramatic guidelines increases.

 4              While the definition of a dramatic increase under the Sentencing Guidelines
 5 can be debated, there can be little question that the 10-level increase in this case so

 6 qualifies. Indeed, the 10-level increase enhances the sentencing range well beyond the 2-

 7 year increase in minimum penalty that triggered the constitutional violation in Alleyne v.

 8 United States, 570 U.S. 99 (2013). Given Alleyne and the limited holdings of Watts and

 9 Booker, this Court should conclude that it cannot apply a dramatic 10-level increase

10 generating a potential guidelines range of life imprisonment based on judge-found facts.

11              Similarly, reliance on judicial fact-finding to determine the reasonableness of
12 a sentence under § 3553(a) violates the Fifth and Sixth Amendments. See Jones v. United

13 States, 135 S. Ct. 8 (2014) (Scalia, J., joined by Justices Thomas and Ginsburg, dissenting

14 from the denial of certiorari) (“but for the judge’s finding of fact, [petitioners’] sentences

15 would have been ‘substantively unreasonable’ and therefore illegal[,]” and thus “their

16 constitutional rights were violated”). In Jones, Justice Scalia explained that such a

17 constitutional rule “unavoidably follows” from the Apprendi line of precedent. Id. In

18 short, “[i]ncarceration without conviction is a constitutional anathema.” United States v.

19 Brown, 892 F.3d 385, 409 (D.C. Cir. 2018) (Millett, J., concurring).

20              This Court can also avoid the constitutional questions raised above by
21 prohibiting, as a matter of statutory and common law, the use of judge-found facts to

22 support dramatic increases under the Sentencing Guidelines and to justify the

23 reasonableness of a sentence under § 3553(a). See, e.g., Jones v. United States, 526 U.S.

24 227, 239-52 (1999). Justice Kavanaugh has endorsed this view, see United States v. Bell,

25 808 F.3d 926, 928 (D.C. Cir. 2015) (Kavanaugh, J., concurring in the denial of rehearing

26 en banc); see also Brown, 892 F.3d at 415 (Kavanaugh, J., dissenting); United States v.

27 Settles, 530 F.3d 920, 923-24 (D.C. Cir. 2008), and the Ninth Circuit reached a similar

28 conclusion in United States v. Pimentel-Lopez, 828 F.3d 1173, 1175-78 (9th Cir. 2016).


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 1 The Sentencing Guidelines state: “In determining the sentence to impose within the

 2 guideline range, or whether a departure from the guidelines is warranted, the court may

 3 consider, without limitation, any information concerning the background, character and

 4 conduct of the defendant, unless otherwise prohibited by law.” U.S.S.G. § 1B1.4

 5 (emphasis added). Under its supervisory power, this Court can certainly hold that utilizing

 6 judge-found facts to support dramatic increases under the Sentencing Guidelines is

 7 “prohibited by law” in order to avoid the constitutional questions raised above. Such

 8 action would be similar to what the Supreme Court did in Booker. See Booker, 543 U.S. at

 9 246-48. For all of these reasons, this Court should not apply the dramatic 10-level

10 increase.

11              C. U.S.S.G. § 2X1.1
12              Finally, if this Court overrules Mr. Asad-Ghanem’s objections and applies
13 the 10-level increase under § 2K2.1(b)(1)(E), then it should also apply a 3-level reduction

14 under U.S.S.G. § 2X1.1. Section 2X1.1 provides for a three-level reduction for

15 conspiracies “unless the defendant or a co-conspirator completed all the acts the

16 conspirators believed necessary on their part for the successful completion of the

17 substantive offense or the circumstances demonstrate that the conspirators were about to

18 complete all such acts but for apprehension or interruption by some similar event beyond

19 their control.” U.S.S.G. § 2X1.1(b)(2). Conspirators are not “about to complete” a

20 substantive offense “unless the remaining steps to be taken in the commission of a crime

21 are so insubstantial that the commission of the substantive offense is inevitable, barring an

22 unforeseen occurrence that frustrates its completion.” United States v. Martinez-Martinez,

23 156 F.3d 936, 939 (9th Cir. 1998). In Martinez-Martinez, the Ninth Circuit held that the

24 3-level reduction applied where the defendants’ “boss” still needed to approve their

25 contemplated actions. Id. at 939-40. Here, given that no sale of 200 or more missiles

26 would occur without a purchaser, the exchange of 200 or more missiles was not inevitable.

27 Therefore, if this Court applies the 10-level increase under § 2K2.1(b)(1)(E), it must also

28 apply a 3-level decrease under § 2X1.1.(b)(2). See U.S.S.G. § 2X1.1 comment. (n.4).


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 1                                       CONCLUSION
 2              For the foregoing reasons, the Court should not apply the § 2332g sentencing
 3 provisions. If it does so, it should not apply the 10-level increase under § 2K2.1(b)(1)(E).

 4 If it does apply the 10-level increase, it should also apply a 3-level decrease under §

 5 2X1.1.

 6                                                   Respectfully submitted,
 7                                                   s/Benjamin L. Coleman, s/H. Dean Steward
 8 Dated: August 5, 2019                             BENJAMIN L. COLEMAN
                                                     H. DEAN STEWARD
 9
                                                     Attorneys for Defendant
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 1                                   PROOF OF SERVICE
 2              I hereby certify that, on August 5, 2019, I electronically filed the attached
 3 Reply with the Clerk of the Court by using the CM/ECF system. I certify that all

 4 participants in the case are registered CM/ECF users and that service will be accomplished

 5 by the CM/ECF system.

 6              I declare under penalty of perjury that the foregoing is true and correct.
 7

 8              Executed on August 5, 2019, at San Diego, California.
 9

10                                               s/Benjamin L. Coleman
                                                 BENJAMIN L. COLEMAN
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